Case 8:19-ap-01202-TA       Doc 21 Filed 02/19/20 Entered 02/19/20 15:08:16            Desc
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 1   Baruch C. Cohen, Esq. (SBN 159455)
     LAW OFFICE OF BARUCH C. COHEN
 2           A Professional Law Corporation
     4929 Wilshire Boulevard, Suite 940
 3   Los Angeles, California 90010
     (323) 937-4501        Fax (888) 316-6107
 4   e-mail: baruchcohen@baruchcohenesq.com

 5   Attorney For Defendant Guy Griffithe

 6

 7                                UNITED STATES BANKRUPTCY COURT

 8                                 CENTRAL DISTRICT OF CALIFORNIA

 9                                      SANTA ANA DIVISION

10

11    In re                                     Case No. 8:19-bk-12480-TA

12    GUY GRIFFITHE,                            Adv. 8:19-ap-01202-TA

13            Debtor                            Before the Honorable Theodor Albert
      _________________________________
14                                              Chapter 7
      GREGORY WICK,
15                                              DECLARATION OF BARUCH C. COHEN RE
                      Plaintiff                 NOTICE OF ORDER GRANTING
16                                              APPLICATION AND SETTING
      vs.                                       HEARING ON SHORTENED NOTICE, RE:
17                                              MOTION TO WITHDRAW AS COUNSEL OF
      GUY GRIFFITHE                             RECORD FOR DEFENDANT GUY
18                                              GRIFFITHE
                     Defendant
19                                              Date: 2-27-2020
                                                Time: 11:00am
20                                              Courtroom: 5B
                                                Place: 411 West Fourth Street, Santa Ana CA
21

22
     DATED:        February 19, 2020            LAW OFFICE OF BARUCH C. COHEN
23                                              A Professional Law Corporation

24                                              By     /S/ Baruch C. Cohen
                                                Baruch C. Cohen, Esq.
25                                              Attorney For Defendant Guy Griffithe

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     2/19-3:17pm
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 1                                 DECLARATION OF BARUCH C. COHEN

 2             I, BARUCH C. COHEN, declare and state as follows:

 3   1.        The facts stated below are true and correct to the best of my personal knowledge and if called

 4             upon to testify to them, I could and would competently do so. I have reviewed my file, the

 5             court dockets for this Adversary Proceeding, and the Defendants's Petition, Schedules and

 6             Statement of Financial Affairs as well as all other documents filed in the Chapter 7 case and

 7             the Adversary case. I am familiar with all of their contents.

 8   2.        I am a member in good standing and eligible to practice before the following courts: California

 9             State Supreme Court; United States Court of Appeals - Ninth Circuit; Bankruptcy Appellate

10             Panel; United States District Courts: Central District of California; Eastern District of

11             California; Northern District of California; and Southern District of California.

12   3.        I am the principal shareholder and President of The Law Office of Baruch C. Cohen, a

13             Professional Law Corporation, located at 4929 Wilshire Boulevard, Suite 940, Los Angeles,

14             California 90010.

15   4.        I represent Defendant Guy Griffithe.

16   5.        This declaration is in support of ORDER GRANTING APPLICATION AND SETTING

17             HEARING ON SHORTENED NOTICE, RE:                        MOTION TO WITHDRAW AS

18             COUNSEL OF RECORD FOR DEFENDANT GUY GRIFFITHE.

19   6.        On 2-18-2020, this Court granted Defendant’s Order Granting Application and Setting

20             Hearing on Shortened Notice, Re: Motion to Withdraw as Counsel of Record for Defendant

21             Guy Griffithe [Doc-19].

22   7.        On 2-18-2020, this Court’s ECF system was down for maintenance repairs, and I could not

23             access this Court’s Order. On 2-19-2020, at 9:00am, the ECF system was back up.

24   8.        Pursuant this Court’s Order, on 2-20-2020 at 3:00pm, I called Plaintiff Gregory Wick at 951-

25             505-9888 and left him a message informing him of the hearing on my Motion to Withdraw as

26             Counsel of Record for Defendant Guy Griffithe will take place on 2-27-2020 at 11:00am, in

27             Courtroom 5B, and that any opposition (if any) can be made orally at the hearing. Mr. Wick’s

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     2/19-3:17pm
                                                         -ii-
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 1             pleading does not contain a fax number.

 2   9.        I served Mr. Wick with the Order Granting Application and Setting Hearing on Shortened

 3             Notice, Re: Motion to Withdraw as Counsel of Record for Defendant Guy Griffithe by email

 4             at gregwick99a@gmail.com, overnight mail, and personal delivery at 45159 Vine Cliff St

 5             Temecula, CA 92592.

 6   10.       Additionally, on 2-20-2020 at 2:05pm, I called Defendant Guy Griffithe at 949-424-9210 and

 7             informed him of same. Mr. Griffithe informed me that he does not have a fax number and

 8             acknowledged the call.

 9   11.       I served Mr. Griffithe with the Order Granting Application and Setting Hearing on Shortened

10             Notice, Re: Motion to Withdraw as Counsel of Record for Defendant Guy Griffithe by email

11             at guy@bridgegatepictures.com, overnight mail, and personal delivery at 30251 Golden

12             Lantern #E405, Laguna Niguel, CA 92677.

13             I declare under penalty of perjury under the laws of the State of California that the foregoing

14   is true and correct.

15             Executed February 19, 2020, at Los Angeles, California.

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17                                            By     /S/   Baruch C. Cohen
18                                                                 Baruch C. Cohen

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     2/19-3:17pm
                                                           -iii-
2/19/2020      Case 8:19-ap-01202-TA
                  LAW                       Doc APLC
                      OFFICE OF BARUCH C. COHEN, 21 Mail
                                                     Filed   02/19/20
                                                         - WICK            Entered
                                                                VS GRIFFITHE            02/19/20
                                                                             - - 8:19-ap-01202-TA    15:08:16
                                                                                                  - ORDER        Desc
                                                                                                          GRANTING APPLICATION …
                                             Main Document          Page 4 of 5
                                                                                                                                     BARUCH COHEN <baruchcohen@baruchcohenesq.com>



 WICK VS GRIFFITHE - - 8:19-ap-01202-TA - ORDER GRANTING APPLICATION AND SETTING HEARING ON
 SHORTENED NOTICE, RE: MOTION TO WITHDRAW AS COUNSEL OF RECORD FOR DEFENDANT GUY
 GRIFFITHE
 1 message

 Baruch Cohen <baruchcohen@baruchcohenesq.com>                                                                     Wed, Feb 19, 2020 at 9:06 AM
 Reply-To: bcc@baruchcohenesq.com
 To: gregwick99a@gmail.com, Guy Bridgegate Pictures <guy@bridgegatepictures.com>, BARUCH COHEN <baruchcohen@baruchcohenesq.com>

   Mr. Wick & Mr. Griffithe:

   Confirming my telephone message of yesterday to Mr. Wick at 3:00pm, and Mr. Griffithe at 2:05pm, enclosed please find the ORDER GRANTING
   APPLICATION AND SETTING HEARING ON SHORTENED NOTICE, RE: MOTION TO WITHDRAW AS COUNSEL OF RECORD FOR DEFENDANT GUY
   GRIFFITHE [Doc-19] (attached) that is being served on you via email, overnight mail, and personal delivery.

   The hearing on my Motion to Withdraw as Counsel of Record for Defendant Guy Griffithe [Doc-14] (attached) will take place on 2-27-2020 at 11:00am, in
   Courtroom 5B, and any opposition (if any) can be made orally at the hearing.

   Please confirm receipt of this email.

   BCC

   ---
   Baruch C. Cohen, Esq.
   Law Office of Baruch C. Cohen, APLC
   4929 Wilshire Boulevard, Suite 940
   Los Angeles, CA 90010
   Office (323) 937-4501 | Cell (323) 353-9535
   Facsimile: (888) 316-6107
   Email: baruchcohen@baruchcohenesq.com (mailto:bcc@baruchcohenesq.com), bcc4929@gmail.com (mailto:bcc4929@gmail.com)
   www.BaruchCohenEsq.com (http://www.baruchcohenesq.com)
   Notice of Ex Parte Hearings Will Not Be Accepted by Email
                                                                 American Trial Attorneys in Defense of Israel
   (http://attorneysdefendingisrael.blogspot.com/)
              (https://www.linkedin.com/in/baruchcohen/)
                      (https://mail.google.com/)                 (https://twitter.com/CohenBaruch) (https://www.facebook.com/baruch.cohen.37)


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    2 attachments
                                                                                                         2020-02-13_GriffitheWick_filed_
       (?                                                                                                MotionToWithdrawAsCounsel.pdf
    ui=2&ik=3b6bf1d349&view=att&th=1705e6a8f2306e8c&attid=0.1&disp=attd&realattid=f_k6shuxiy0&safe=1&zw) 197K

                                                                                                         Order Granting Application And Setting
       (?                                                                                                Hearing On Shortened Notice Re Motion
    ui=2&ik=3b6bf1d349&view=att&th=1705e6a8f2306e8c&attid=0.2&disp=attd&realattid=f_k6tkj3781&safe=1&zw) To Withdraw As Counsel Of Record.pdf
                                                                                                         518K




https://mail.google.com/mail/u/1?ik=3b6bf1d349&view=pt&search=all&permthid=thread-a%3Ar-2636885053049464532&simpl=msg-a%3Ar-17413867…                                                                                 1/1
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                  4929 Wilshire Boulevard, Suite 940, Los Angeles, California 90010.

A true and correct copy of the foregoing document entitled: DECLARATION OF BARUCH C. COHEN RE NOTICE OF
ORDER GRANTING APPLICATION AND SETTING HEARING ON SHORTENED NOTICE, RE: MOTION TO
WITHDRAW AS COUNSEL OF RECORD FOR DEFENDANT GUY GRIFFITHE will be served or was served (a) on the
judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
2/19/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Thomas H Casey (TR)                      msilva@tomcaseylaw.com, thc@trustesolutions.net
United States Trustee (SA)               ustpregion16.sa.ecf@usdoj.gov

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On 2/19/2020, I served the following persons and/or entities at the last known
addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

By email, overnight mail, and personal delivery to
        Gregory Wick, 45159 Vine Cliff St, Temecula, CA 92592, gregwick99a@gmail.com
        Greg Griffithe, 30251 Golden Lantern #E405, Laguna Niguel, CA 92677, guy@bridgegatepictures.com

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 2/19/2020,, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


Honorable Theodor C. Albert, 411 West Fourth Street, Suite 5085, Santa Ana, CA 92701-4593


                                                                                            Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/19/2020                      Baruch C. Cohen, Esq.                                           /s/ Baruch C. Cohen
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
